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 The Honorable Brian M. Cogan
 United States District Judge
 United States District Court for the
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201
        Re:     Palmer, et al. v. Amazon.com, Inc., et al., No. 1:20-cv-2468 (E.D.N.Y.)
 Dear Judge Cogan:

 Defendants Amazon.com, Inc. and Amazon.com Services LLC (collectively, “Amazon”)
 respectfully submit this response to Plaintiffs’ October 14, 2020 letter concerning recent
 changes to productivity feedback at Amazon’s JFK8 facility in Staten Island. See ECF
 No. 71. As explained below, Plaintiffs’ letter is factually flawed, procedurally improper, and
 without legal merit. Indeed, Plaintiffs fundamentally mischaracterize Amazon’s revised
 productivity goals, which build in extra time for sanitation practices. Moreover, only a small
 fraction of employees—less than 5% on average—who are the most extreme outliers in
 performance and who are not meeting the minimum productivity goals might receive
 coaching for improvement. To the extent the Court decides to accept Plaintiffs’ letter,
 Amazon respectfully requests that the Court also consider this response. 1

 Amazon, like businesses in every sector, engages in the unremarkable practice of setting
 goals for employee productivity. Amazon nonetheless suspended productivity feedback in
 March 2020, before Plaintiffs filed this lawsuit. See ECF No. 45, Stephens Decl. ¶¶ 11–13.
 Amazon reiterated the suspension of productivity feedback in July 2020, explaining to all
 JFK8 associates at the time that “since mid-March 2020, we have temporarily suspended our
 productivity feedback.” ECF No. 52-1, Fitzgerald Decl. ¶¶ 2–3 (emphasis added). Amazon
 has always maintained that Plaintiffs’ allegations regarding productivity feedback are
 meritless and, as Plaintiffs are well aware, has always reserved its right to resume
 productivity feedback. See ECF No. 68, at 16–17 & n.5. Indeed, Plaintiffs previously
 acknowledged that Amazon’s suspension of productivity feedback was “temporar[y].” ECF
 No. 60, at 1.

 Contrary to Plaintiffs’ rhetoric, Amazon is not “now treating the pandemic—and the need for
 measures to protect workers’ health and wellbeing—as a thing of the past, abandoning the
 policies that it once implemented.” Pls.’ 10/14/20 Let. at 1. Nothing could be further from
 the truth. Amazon has simply implemented new measures that take into account the amount

 1
  If the Court considers the declaration attached to Plaintiffs’ letter in evaluating Amazon’s
 Motion to Dismiss, Amazon respectfully asks for permission to submit a responsive
 declaration.
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 of time necessary to engage in the health and safety practices that Amazon has put in place
 since the onset of the pandemic.

 Plaintiffs mischaracterize Amazon’s revised productivity policy. Contrary to Plaintiffs’
 inaccurate description, Amazon’s revised policy includes extra time for employees to sanitize
 their work area, wash their hands, and remain socially distant. Amazon’s new productivity
 goal is based on JFK8 employees’ average productivity performance during the month of
 September—when productivity goals were temporarily suspended—and allows enough time
 for employees to wash their hands, clean their stations, and maintain social distancing. The
 revised policy reflects a reasonable, COVID-19-era productivity goal that allows employees
 to prioritize safety. Additionally, as noted above, only those extreme outlier employees who
 are not meeting the minimum goal and are among the bottom few percent of performers may
 be subject to feedback. Even then, employees have an opportunity to explain whether
 pandemic-related safety precautions contributed to their performance issues. The revised
 productivity policy also allows Amazon to recognize and provide positive feedback to the
 highest performers—typically the top 10%—as well as to identify and support employees
 who would benefit from additional training. See ECF No. 45, Stephens Decl. ¶ 7.

 In short, just like other companies, Amazon has continued to make appropriate changes
 within its business as the pandemic has progressed. Amazon’s revised productivity policy
 allows employees to practice social distancing, wash hands, and clean work stations as
 needed, while providing superior customer service and predictable delivery times. 2

 Contrary to Plaintiffs’ arguments, Amazon’s revised policy has no impact on its pending
 Motion to Dismiss. Amazon has not reinstated the pre-pandemic performance policies that
 Plaintiffs challenge in the Amended Complaint, so there is still no case or controversy
 concerning those policies. See ECF No. 66, at 8–9; ECF No. 69, at 3–4. And Plaintiffs’
 letter highlights the inappropriateness of their attempt to apply public-nuisance law here—
 they would have the Court mandate its own health, safety, and productivity policies and
 freeze them in time, without regard for the evolving circumstances of the pandemic and the



 2
   Moreover, the declaration that Plaintiffs submitted with their letter belies their baseless
 accusation that Amazon has not been “honest and forthcoming” (Pls.’ 10/14/20 Let. at 2)
 about its revised productivity goals. To the contrary, Mr. Palmer himself concedes that he
 was informed on September 17—weeks in advance of the change—that Amazon planned to
 revise its “temporary” productivity policies “in October.” ECF No. 71-1, Palmer Decl.
 ¶ 2. And Palmer admits that he was reminded of the new policies on October 7, both
 verbally and in writing. Id. ¶¶ 9–10. Moreover, in anticipation of the upcoming policy
 revision, Amazon provided verbal coaching to underperforming employees to ensure that
 they understood the company’s expectations and had an opportunity to discuss any
 barriers. In short, there is no basis for Plaintiffs to claim that Amazon has been dishonest
 and not forthcoming.
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 business. Furthermore, Amazon’s revised performance policy obviously has no impact on
 the other fundamental legal flaws in Plaintiffs’ claims, which have already been fully briefed.

 Plaintiffs’ other arguments in opposition to Amazon’s Motion to Dismiss are an improper
 sur-reply styled as a “notice.” See, e.g., Ritter v. Cohen & Slamowitz, LLP, 118 F. Supp. 3d
 497, 499 (E.D.N.Y. 2015) (“Plaintiff filed sur-replies, which are in violation of the Federal
 Rules of Civil Procedure and the Eastern District’s Local Rules.”). For example, Plaintiffs
 regurgitate their argument that because they work at Amazon they are “uniquely impacted”
 by Amazon’s purported “failure to abide by minimum public health and safety standards.”
 Pls.’ 10/14/20 Let. at 2; see also Am. Compl. ¶¶ 331–35; ECF No. 68, at 12–14. Amazon
 has already explained at length why this expansive and flawed theory of public-nuisance law
 lacks merit under longstanding New York precedent. ECF No. 66, at 14–17; ECF No. 69, at
 6.

 Finally, Plaintiffs ask the Court to reconsider its prior order staying discovery on all of
 Plaintiffs’ claims except for Plaintiff Barbara Chandler’s claims for allegedly underpaid
 quarantine leave. Pls.’ 10/14/20 Let. at 2; see also Minute Order (July 21, 2020). Plaintiffs’
 drive-by request by virtue of a barebones paragraph appended to a two-page letter hardly
 suffices as a legitimate basis for this Court to reverse previous rulings in this case, see
 Individual Practices of Judge Brian M. Cogan II.B (“[a]ll requests for relief from the Court”
 must be designated as a “‘motion’ on ECF”), and flouts Local Civil Rule 37.3’s meet-and-
 confer requirements for discovery motions.

 In sum, Plaintiffs’ letter disregards the Court’s rules regarding sur-replies and discovery
 motions, and appears to be another transparent press release, cf. ECF No. 60, not an
 appropriate request for Court action. The Court should reject Plaintiffs’ arguments and grant
 Amazon’s Motion to Dismiss, for the reasons stated in the existing briefing.

 Respectfully submitted,

 /s/ Jason C. Schwartz

 cc:    Counsel for Plaintiffs (by ECF)
